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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

LESLIE MCCLOUD,                             )
on behalf of Plaintiff and a class,         )
                                            )
                       Plaintiff,           )       2:21-cv-00024-PPS-APR
                                            )
               vs.                          )
                                            )
ADT LLC, and DOES 1-10,                     )
                                            )
                       Defendants.          )

                                      NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Leslie McCloud voluntarily dismisses

her individual claims against Defendant ADT LLC without prejudice and without costs. Plaintiff

Leslie McCloud voluntarily dismisses her class claims against Defendant ADT LLC without

prejudice and without costs. Plaintiff Leslie McCloud voluntarily dismisses her claims against

John Does 1-10 without prejudice and without costs.

                                                    Respectfully submitted,

                                                    /s/ Heather Kolbus
                                                    Heather Kolbus

Daniel A. Edelman
Heather Kolbus
EDELMAN, COMBS, LATTURNER
       & GOODWIN, LLC
20 S. Clark Street, Suite 1500
Chicago, IL 60603
(312) 739-4200
(312) 419-0379 (FAX)
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                               CERTIFICATE OF SERVICE

       I, Heather Kolbus, hereby certify that on February 24, 2021, I caused a true and accurate
copy of the foregoing document to be filed via the Court’s CM/ECF system, and to be served via
U.S. Mail and email to the following:

       Daniel J. McGrath – dmcgrath@adt.com
       ADT LLC
       1501 Yamato Road
       Boca Raton, FL 33431

                                                           /s/Heather Kolbus
                                                           Heather Kolbus


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